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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ANDREA WOOD,                                    Case No. 21-cv-08784-WHO
                                                       Plaintiff,
                                   8
                                                                                         ORDER GRANTING REQUEST FOR
                                                 v.                                      EXTENSION OF TIME
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                                  10     SGT INVESTMENTS, et al.,                        Re: Dkt. Nos. 54, 67
                                                       Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Pro se plaintiff Andrea Wood has again sought an extension of time to respond to pending

                                  14   motions in this matter, citing medical issues. See Dkt. Nos. 54, 67. Her request is GRANTED.

                                  15          The defendants have filed three separate motions to dismiss Wood’s Second Amended

                                  16   Complaint and other motions. See Dkt. Nos. 49, 59, 64. To streamline the briefing and hearing

                                  17   schedules, and to give Wood adequate time to respond, Wood’s responses to the motions are due

                                  18   by June 22, 2022. Any replies will be due by June 29, 2022. The pending motions will all be

                                  19   heard on July 13, 2022, at 2:00 p.m.

                                  20          IT IS SO ORDERED.

                                  21   Dated: May 31, 2022

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                                                                                                 William H. Orrick
                                  24                                                             United States District Judge
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